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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

CASA INC., et al.,                           *

       Plaintiffs,                           *

v.                                           *           Civ. No. DLB-25-0201

DONALD J. TRUMP, et al.,                     *

       Defendants.                           *

                                         ORDER

       As stated during the January 23, 2025 status conference, the Court sets the following

schedule:

       January 31, 2025, 12:00 p.m.     Deadline for the defendants’ responses to the motion
                                        for a temporary restraining order and preliminary
                                        injunction, ECF 2, and the motion to proceed under a
                                        pseudonym, ECF 3

       February 3, 2025, 12:00 p.m.     Deadline for the plaintiffs’ replies

       February 5, 2025, 10:00 a.m.     Motions hearing, Courtroom 4A



Date: ______________
       January 23, 2025
                                                         Deborah L. Boardman
                                                         United States District Judge
